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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                       Plaintiff,

                                                                      DECISION AND ORDER

                                                                      05-CR-6161L

                       v.

JOHN NICOLO,
DAVID FINNMAN,
CONSTANCE ROEDER,


                              Defendants.
________________________________________________


        At the conclusion of the Government’s case and at the conclusion of all the proof, defendants

moved for a judgment of acquittal. The Court reserved on all the motions, pursuant to FED . R. CRIM .

P. 29(b) and submitted the case to the jury. On May 20, 2008, the jury returned its verdict and found

all of the defendants guilty as charged. This constitutes my decision on the motions for judgments

of acquittal.

        All defendants moved for a judgment of acquittal on the grounds the evidence was

insufficient. It is clear that I must base my decision concerning the sufficiency of the evidence on

the proof as it stood at the close of the Government’s case. At that time, there was more than

sufficient evidence before the jury for a reasonable juror to find that the Government proved its case

against the defendants by proof beyond a reasonable doubt.
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       There was relevant evidence from which the jury could reasonably find defendants guilty

beyond a reasonable doubt, viewing the evidence in the light most favorable to the Government and

keeping in mind that it is the exclusive function of the jury to determine the credibility of witnesses,

resolve evidentiary conflicts and draw reasonable inferences.

       Mr. Finnman also renewed his motion for severance. That motion is denied.

       Counsel for Ms. Roeder addressed several matters, as well. Ms. Roeder also renewed

motions for severance, discovery requests and for a bill of particulars. They are denied. In addition,

Ms. Roeder moved for dismissal of the indictment based on prosecutorial misconduct before the

grand jury, constructive amendment of the indictment and delay in prosecution. All are denied as

without basis in fact or law. Any other motion not specifically referenced here is denied.

       IT IS SO ORDERED.



                                       _______________________________________
                                                DAVID G. LARIMER
                                              United States District Judge


Dated: Rochester, New York
       May 30, 2008.




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